
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-07-115-CV



LUCIAN GASSAWAY, AS REPRESENTATIVE 	APPELLANT

OF THE ESTATE OF PATSY PARSLEY



V.



PATSY REGINA GASSAWAY
	APPELLEE

 
	

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FROM THE 415TH DISTRICT COURT OF PARKER COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Plaintiff’s Amended Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellant
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.

PER CURIAM

PANEL D: CAYCE, C.J.; LIVINGSTON and DAUPHINOT, JJ. &nbsp;



DELIVERED: May 24, 2007

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




